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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                 8:14CR363
       vs.                                   )
                                             )                   ORDER
                                             )
LIMBERG DE PAZ-ESPINOSA,                     )
                                             )
                     Defendants.             )


       This matter is before the court on defendant’s unopposed motion to continue trial
[132] as counsel needs additional time to prepare for trial. The defendant shall comply with
NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial [132] is granted, as follows:

       1. The jury trial now set for May 12, 2015 is continued to June 30, 2015.

       2.     Defendant shall file a waiver of speedy trial as soon as practical.

        3.      In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends
of justice will be served by granting this continuance and outweigh the interests of the
public and the defendant in a speedy trial. Any additional time arising as a result of the
granting of this motion, that is, the time between today’s date and June 30, 2015, shall
be deemed excludable time in any computation of time under the requirement of the
Speedy Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED May 4, 2015.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
